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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

United States of America                         )
                                                 )
               v.                                )                  No. 1:21-cr- 200-LM-01
                                                 )
Rocio Sanchez AKA                                )
Rocio Chavira                                    )
______________________________________

                                            Indictment

The Grand Jury charges:

At all times relevant to this indictment:

       1.      The “National Passport Center” is a facility operated by the United States

Department of State, Bureau of Consular Affairs, for the filing, processing, and adjudication of

United States Passport Applications (forms DS-11) and United States Passport Renewal

Applications (forms DS-82), which are used to apply for passport renewals by mail. The

National Passport Center is located at 207 International Drive, Portsmouth, New Hampshire.

       2.      Title 22, Code of Federal Regulations, Section 51.2 provides that a passport may

be issued only to a United States national. Under Title 22, Code of Federal Regulations, Section

50.1(d), a national is a citizen of the United States or a noncitizen owing permanent allegiance to

the United States. A non-citizen national is someone who was: (i) born in American Samoa or

Swain’s Island; (ii) found in American Samoa or Swain’s Island at a young age; (iii) a child of a

non-citizen United States national who meets certain physical presence or residence

requirements; or (iv) born in the Commonwealth of the Northern Marianas Islands and opted to

become a non-citizen national instead of a citizen of the United States. 8 U.S.C. §§ 1408,

1101(a)(29); Public Law 94 – 241 § 302.



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       3.      The defendant, Rocio Sanchez AKA Rocio Chavira, was neither a citizen nor a

national of the United States.

                                          COUNT ONE
                            [False Statements – 18 U.S.C. § 1001(a)(2)]

                                           Background

       4.      Paragraphs 1 through 3 are re-alleged.

                                         False Statement

       5.      In and around April 2021 to May 2021, in the District of New Hampshire and

elsewhere, the defendant,

                                        Rocio Sanchez
                                      AKA Rocio Chavira,

in a matter within the jurisdiction of the United States Department of State, an agency of the

executive branch of the Government of the United States, knowingly and willfully made a

materially false, fictitious, and fraudulent statement and representation in connection with a

United States Passport Application (form DS-11). Sanchez executed the passport application,

which was subsequently received at the National Passport Center. To induce and secure the

issuance of a United States Passport, Sanchez falsely stated on the application a name, date of

birth, place of birth, and social security number that were not her own. Sanchez knew that this

statement and representation was false when made.

       In violation of Title 18, United States Code, Section 1001(a)(2).




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The Grand Jury charges further:

                                          COUNT TWO

                     [Aggravated Identity Theft – 18 U.S.C. § 1028A(a)(1)]

       6.      Paragraphs 1 through 3 are re-alleged.

       7.      In and around April 2021 and May 2021, in the District of New Hampshire and

elsewhere, the defendant,

                                       Rocio Sanchez AKA
                                         Rocia Chavira,

did knowingly use, without lawful authority, a means of identification of another person, namely,

the name, date of birth, and social security number of another person, Rocia Chavira, during and

in relation to a felony violation of Title 18, United States Code, Section 1001(a)(2), as alleged in

Count One of this Indictment.

       All in violation of Title 18, United States Code, Section 1028A(a)(1).


                                                      A TRUE BILL

                                                      /s/ Foreperson
                                                      Grand Jury Foreperson

JOHN J. FARLEY
Acting United States Attorney

/s/ Anna Dronzek
Anna Dronzek
Assistant United States Attorney

Date: December 13, 2021




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